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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                ABILENE DTVISION

UNITED STATES OF AMERICA,
  Plainffi,

                                                           NO. l:21-CR-058-02-H

GERARDO SILYA,
   Defendant.


            ORDER ACCEPTING REPORT AND RECOMMENDATTON
               OF TIIE UMTED STATES MAGISTRATE JIJDGE
                      CONCERNING PLEA OF GTJILTY

       After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

conceming Plea of Guilty of the united States Magistrate Judge, and no objections thereto

having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

$ 636(bX1), the undersigned   District Judge is ofthe opinion that the Reporr and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guitty and

Defendant is hereby adjudged guilty.

       Sentence will be imposed in accordance with the Court's scheduling order.

       SO ORDERED.

       out at$uyLQ ,2922.


                                                   WESLEYHENDRIX
                                                   D STATES DISTRICT ruDGE
